           Case 20-34944 Document 2 Filed in TXSB on 10/08/20 Page 1 of 18




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                           §
  In re:                                   §    Chapter 11
                                           §
  UTEX INDUSTRIES, INC.,                   §    Case No. 20-34932 (DRJ)
                                           §
                              Debtor.      §
                                           §    (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                   §
                                           §
                                           §
  In re:                                   §    Chapter 11
                                           §
  UTEX HOLDING, INC.,                      §    Case No. 20-34944 (DRJ)
                                           §
                              Debtor.      §
                                           §    (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                   §
                                           §
                                           §
  In re:                                   §    Chapter 11
                                           §
  APPLIED RUBBER TECHNOLOGY,               §    Case No. 20-34934 (DRJ)
  INC.,                                    §
                              Debtor.      §
                                           §    (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                   §
                                           §
                                           §
  In re:                                   §    Chapter 11
                                           §
  CAM SPECIALTY INTERMEDIATE               §    Case No. 20-34937 (DRJ)
  INC.,
  HOLDINGS, INC.,                          §
                              Debtor.      §
                                           §    (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                   §
                                           §
                                           §




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           Case 20-34944 Document 2 Filed in TXSB on 10/08/20 Page 2 of 18




  In re:                                §       Chapter 11
                                        §
  DURAQUEST, INC.,                      §       Case No. 20-34939 (DRJ)
                                        §
                              Debtor.   §
                                        §       (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                §
                                        §
                                        §
  In re:                                §       Chapter 11
                                        §
  ENERGY PRODUCTS LLC,                  §       Case No. 20-34940 (DRJ)
                                        §
                              Debtor.   §
                                        §       (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                §
                                        §
                                        §
  In re:                                §       Chapter 11
                                        §
  AREFCO SEALS, INC.,                   §       Case No. 20-34936 (DRJ)
                                        §
                              Debtor.   §
                                        §       (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                §
                                        §
                                        §
  In re:                                §       Chapter 11
                                        §
  CAM SPECIALTY PRODUCTS, INC.,         §       Case No. 20-34937 (DRJ)
                                        §
                              Debtor.   §
                                        §       (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                §
                                        §
                                        §




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           Case 20-34944 Document 2 Filed in TXSB on 10/08/20 Page 3 of 18




  In re:                                §       Chapter 11
                                        §
  WORK MANUFACTURING, L.L.C.,           §       Case No. 20-34945 (DRJ)
                                        §
                              Debtor.   §
                                        §       (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                §
                                        §
                                        §
  In re:                                §       Chapter 11
                                        §
  RSH UTEX HOLDINGS, LLC                §       Case No. 20-34942 (DRJ)
                                        §
                              Debtor.   §
                                        §       (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                §
                                        §
                                        §
  In re:                                §       Chapter 11
                                        §
  INDUSTRIAL SEALING SOLUTIONS          §       Case No. 20-34941 (DRJ)
  HOLDINGS INC.                         §
                              Debtor.   §
                                        §       (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                §
                                        §
                                        §
  In re:                                §       Chapter 11
                                        §
  UI SEALING TECHNOLOGIES               §       Case No. 20-34943 (DRJ) §
  INTERMEDIATE HOLDINGS INC.            §
                              Debtor.
                                        §       (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                §
                                        §
                                        §



                EMERGENCY MOTION OF DEBTORS PURSUANT
          TO FED. R. BANKR. P. 1015(b) AND LOCAL RULE 1015-1 FOR AN
        ORDER DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES

       EMERGENCY RELIEF HAS BEEN REQUESTED. A HEARING WILL BE CONDUCTED ON
       THIS MATTER ON OCTOBER 9, 2020, AT 12:00 P.M. (CENTRAL TIME) BY AUDIO AND
       VIDEO COMMUNICATIONS AS SET FORTH BELOW. IF YOU OBJECT TO THE RELIEF
       REQUESTED OR YOU BELIEVE THAT EMERGENCY CONSIDERATION IS NOT
       WARRANTED, YOU MUST EITHER APPEAR AT THE HEARING OR FILE A WRITTEN



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WEIL:\97458653\7\78263.0003
           Case 20-34944 Document 2 Filed in TXSB on 10/08/20 Page 4 of 18




       RESPONSE PRIOR TO THE HEARING. OTHERWISE, THE COURT MAY TREAT THE
       PLEADING AS UNOPPOSED AND GRANT THE RELIEF REQUESTED.

       RELIEF IS REQUESTED NOT LATER THAN OCTOBER 9, 2020.

       PLEASE NOTE THAT THROUGH ENTRY OF GENERAL ORDER 2020-19 ON AUGUST 7, 2020,
       THE COURT HAS EXTENDED THE USE OF THE PROTOCOL FOR EMERGENCY PUBLIC
       HEALTH OR SAFETY CONDITIONS (ADOPTED BY GENERAL ORDER 2020-4; INVOKED
       BY GENERAL ORDERS 2020-10 AND 2020-10A AND AS EXTENDED AND MODIFIED BY
       GENERAL ORDERS 2020- 11, 2020-17 AND 2020-18) THROUGH NOVEMBER 1, 2020.

       IT IS ANTICIPATED THAT ALL PERSONS WILL APPEAR TELEPHONICALLY AND ALSO
       MAY APPEAR VIA VIDEO AT THIS HEARING.

       AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S DIAL-IN FACILITY. YOU
       MAY ACCESS THE FACILITY AT (832) 917-1510. YOU WILL BE RESPONSIBLE FOR YOUR
       OWN LONG-DISTANCE CHARGES. ONCE CONNECTED, YOU WILL BE ASKED TO ENTER
       THE CONFERENCE ROOM NUMBER. JUDGE JONES CONFERENCE ROOM NUMBER IS
       205691.

       YOU MAY VIEW VIDEO VIA GOTOMEETING. TO USE GOTOMEETING, THE COURT
       RECOMMENDS THAT YOU DOWNLOAD THE FREE GOTOMEETING APPLICATION. TO
       CONNECT, YOU SHOULD ENTER THE MEETING CODE “JUDGEJONES” IN THE
       GOTOMEETING APP OR CLICK THE LINK ON JUDGE JONES’ HOME PAGE ON THE
       SOUTHERN DISTRICT OF TEXAS WEBSITE. ONCE CONNECTED, CLICK THE SETTINGS
       ICON IN THE UPPER RIGHT CORNER AND ENTER YOUR NAME UNDER THE PERSONAL
       INFORMATION SETTING.
       HEARING APPEARANCES MUST BE MADE ELECTRONICALLY IN ADVANCE OF THE
       HEARING. TO MAKE YOUR ELECTRONIC APPEARANCE, GO TO THE SOUTHERN
       DISTRICT OF TEXAS WEBSITE AND SELECT “BANKRUPTCY COURT” FROM THE TOP
       MENU. SELECT “JUDGES’ PROCEDURES,” THEN “VIEW HOME PAGE” FOR JUDGE
       JONES. UNDER “ELECTRONIC APPEARANCE” SELECT “CLICK HERE TO SUBMIT
       ELECTRONIC APPEARANCE”. SELECT THE CASE NAME, COMPLETE THE REQUIRED
       FIELDS AND CLICK “SUBMIT” TO COMPLETE YOUR APPEARANCE.


                    UTEX Industries, Inc. and its debtor affiliates in the above-captioned chapter 11

cases, as debtors and debtors in possession (collectively, the “Debtors”), respectfully represent as

follows in support of this motion (the “Motion”):

                                            Relief Requested

                    1.        By this Motion, pursuant to Rule 1015(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 1015-1 of the Local Bankruptcy Rules

for the United States Bankruptcy Court for the Southern District of Texas (the “Local Rules”), the




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WEIL:\97458653\7\78263.0003
           Case 20-34944 Document 2 Filed in TXSB on 10/08/20 Page 5 of 18




Debtors request entry of an order directing consolidation of their chapter 11 cases for procedural

purposes only.

                    2.        A proposed form of order granting the relief requested herein is annexed

hereto as Exhibit A (the “Proposed Order”).

                                                 Jurisdiction

                    3.        The Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                 Background

                    4.        On the date hereof (the “Petition Date”), the Debtors each commenced with

this Court a voluntary case under chapter 11 of the Bankruptcy Code. The Debtors are authorized

to continue to operate their business and manage their properties as debtors in possession pursuant

to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee, examiner, or statutory

committee of creditors has been appointed in these chapter 11 cases.

                    5.        On October 1, 2020, the Debtors executed a restructuring support agreement

(the “RSA”) with (i) certain of their secured lenders (collectively, with other creditors that may

sign joinders to the RSA, the “Consenting Creditors”) that hold approximately 81.6% of the

outstanding principal amount of the First Lien Loans (as defined in the RSA) and approximately

90.4% of the outstanding principal amount of the Second Lien Loans (as defined in the RSA) and

(ii) Riverstone Gamma Holdings LP, the direct and indirect holder of 100% of the equity interests

in the Debtors (the “Consenting Investor”). Pursuant to the RSA, the Consenting Creditors and

Consenting Investor agreed to, as applicable, vote in favor of and support confirmation of the Joint

Prepackaged Chapter 11 Plan of UTEX Industries, Inc. and Its Affiliated Debtors (the

“Prepackaged Plan”).


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WEIL:\97458653\7\78263.0003
           Case 20-34944 Document 2 Filed in TXSB on 10/08/20 Page 6 of 18




                    6.        Prior to the Petition Date, on October 1, 2020, the Debtors commenced the

solicitation of votes on the Prepackaged Plan from the holders of First Lien Loans and Second

Lien Loans on the basis of the Disclosure Statement for Joint Prepackaged Chapter 11 Plan of

UTEX Industries, Inc. and Its Affiliated Debtors pursuant to sections 1125(g) and 1126(b) of the

Bankruptcy Code. Consistent with their obligations under the RSA, the Debtors are seeking to

emerge from chapter 11 on an expedited basis.

                    7.        Additional information regarding the Debtors’ business and capital

structure and the circumstances leading to the commencement of these chapter 11 cases is set forth

in the Declaration of Pete T. Sanchez in Support of the Debtors’ Chapter 11 Petitions and First

Day Relief, sworn to on the date hereof (the “Sanchez Declaration”), filed contemporaneously

herewith and incorporated herein by reference.

                                     Relief Requested Should be Granted

                    8.        Bankruptcy Rule 1015(b) provides, in relevant part, that “[i]f . . . two or

more petitions are pending in the same court by or against . . . a debtor and an affiliate, the court

may order a joint administration of the estates.” Fed. R. Bankr. P. 1015(b). Under section 101(2)

of the Bankruptcy Code, the term “affiliate” means:

                    (A) [an] entity that directly or indirectly owns, controls, or holds
                    with power to vote, 20 percent or more of the outstanding voting
                    securities of the debtor, other than an entity that holds such
                    securities—

                              (i) in a fiduciary or agency capacity without sole
                              discretionary power to vote such securities; or

                              (ii) solely to secure a debt, if such entity has not in
                              fact exercised such power to vote;

                    (B) [a] corporation 20 percent or more of whose outstanding voting
                    securities are directly or indirectly owned, controlled, or held with
                    power to vote, by the debtor, or by an entity that directly or indirectly
                    owns, controls, or holds with power to vote, 20 percent or more of



                                                        6
WEIL:\97458653\7\78263.0003
           Case 20-34944 Document 2 Filed in TXSB on 10/08/20 Page 7 of 18




                    the outstanding voting securities of the debtor, other than an entity
                    that holds such securities—

                              (i) in a fiduciary or agency capacity without sole
                              discretionary power to vote such securities; or

                              (ii) solely to secure a debt, if such entity has not in
                              fact exercised such power to vote . . . .

11 U.S.C. § 101(2). In addition, Local Rule 1015-1 provides for the joint administration of related

chapter 11 cases. The Debtors are affiliates of one another because RSH UTEX Holdings, LLC

owns, either directly or indirectly, 100% of the outstanding voting interests in each of the other

Debtors. Accordingly, this Court is authorized to jointly administer these cases for procedural

purposes.

                    9.        Joint administration of these cases will save the Debtors and their estates

substantial time and expense because it will remove the need to prepare, replicate, file, and serve

duplicative notices, applications, and orders. Joint administration will also relieve the Court from

entering duplicative orders and maintaining duplicative files and dockets. The United States

Trustee for the Southern District of Texas and other parties in interest will similarly benefit from

joint administration of these chapter 11 cases, sparing them the time and effort of reviewing

duplicative dockets, pleadings, and papers.

                    10.       Joint administration will not adversely affect creditors’ rights because this

Motion requests only the administrative consolidation of the estates for procedural purposes and

does not seek substantive consolidation. As such, each creditor will continue to hold its claim

against a particular Debtor’s estate after this Motion is approved.

                    11.       The Debtors respectfully request that these cases be administered under the

following caption:




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WEIL:\97458653\7\78263.0003
           Case 20-34944 Document 2 Filed in TXSB on 10/08/20 Page 8 of 18




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                       §
In re:                                                 §        Chapter 11
                                                       §
UTEX INDUSTRIES, INC., et al.,                         §        Case No. 20-34932 (DRJ)
                                                       §
                    Debtors.1                          §        (Jointly Administered)
                                                       §
1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, as applicable, are: UTEX Industries, Inc. (9867), RSH Utex Holdings, LLC (4048), Industrial Sealing
     Solutions Holdings Inc. (0104), UI Sealing Technologies Intermediate Holdings, Inc. (9553), UTEX Holding,
     Inc. (8260), Applied Rubber Technology, Inc. (1790), CAM Specialty Intermediate Holdings, Inc. (9099), CAM
     Specialty Products, Inc. (8342), Duraquest, Inc. (7017), Work Manufacturing, L.L.C. (5341), Energy Products
     LLC (8160), and Arefco Seals, Inc. (5258). The Debtors’ mailing address is 10810 Katy Freeway, Suite 100,
     Houston, TX 77043.

                    12.       The Debtors also request that the following notation be entered on the

docket in each Debtor’s chapter 11 case (other than the chapter 11 case of UTEX Industries, Inc.)

to reflect the joint administration of these cases:

                    An order has been entered in this case directing the procedural
                    consolidation and joint administration of the chapter 11 cases of
                    UTEX Industries, Inc., et al. The docket in Case No. 20-34932
                    (DRJ) should be consulted for all matters affecting this case.

                    13.       The relief requested herein is necessary, appropriate, and in the best

interests of the Debtors, their estates, and all other parties in interest in these cases. Accordingly,

the Court should authorize the relief requested.

                                                       Notice

                    14.       Notice of this Motion will be provided to (i) the Office of the United States

Trustee for the Southern District of Texas; (ii) the holders of the 30 largest unsecured claims

against the Debtors on a consolidated basis; (iii) Milbank LLP, 55 Hudson Yards, New York, NY

10001-2163 (Attn: Evan Fleck, Esq., Matthew Brod, Esq., and Daniel Porat, Esq.), counsel to the

Ad Hoc Group of First Lien Lenders; (iv) Akin Gump Strauss Hauer & Feld LLP, Bank of America



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WEIL:\97458653\7\78263.0003
           Case 20-34944 Document 2 Filed in TXSB on 10/08/20 Page 9 of 18




Tower, 1 Bryant Park, New York, NY 10036 (Attn: Ira Dizengoff, Esq., Daniel Fisher, Esq., and

Jason Rubin, Esq.), counsel to certain First Lien and Second Lien lenders; (v) Shearman & Sterling

LLP, 599 Lexington Avenue, Lexington Ave, New York, NY 10022 (Attn: Fredrick Sosnick, Esq.

and Michael Guippone, Esq.), counsel to the First Lien Administrative Agent; (vi) the Internal

Revenue Service; (vii) the United States Attorney’s Office for the Southern District of Texas; (viii)

the Securities and Exchange Commission; and (ix) any other party entitled to notice pursuant to

Local Rule 9013 1(d).

                                           No Previous Request

                    15.       No previous request for the relief sought herein has been made by the

Debtors to this or any other court.




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WEIL:\97458653\7\78263.0003
          Case 20-34944 Document 2 Filed in TXSB on 10/08/20 Page 10 of 18




                    WHEREFORE the Debtors respectfully request entry of the Proposed Order

granting the relief requested herein and such other and further relief as the Court may deem just

and appropriate.

Dated: October 8, 2020
       Houston, Texas


                                               /s/ Alfredo R. Pérez
                                             WEIL, GOTSHAL & MANGES LLP
                                             Alfredo R. Pérez (15776275)
                                             700 Louisiana Street, Suite 1700
                                             Houston, Texas 77002
                                             Telephone: (713) 546-5000
                                             Facsimile: (713) 224-9511
                                             Email: Alfredo.Perez@weil.com


                                             -and-

                                             WEIL, GOTSHAL & MANGES LLP
                                             Matthew S. Barr (pro hac vice pending)
                                             Ryan Preston Dahl (pro hac vice pending)
                                             Gabriel Morgan (pro hac vice pending)
                                             Jason L. Hufendick (pro hac vice pending)
                                             767 Fifth Avenue
                                             New York, New York 10153
                                             Telephone: (212) 310-8000
                                             Facsimile: (212) 310-8007
                                             Email: Matt.Barr@weil.com
                                                      Ryan.Dahl@weil.com
                                                      Gabriel.Morgan@weil.com
                                                      Jason.Hufendick@weil.com


                                             Proposed Attorneys for Debtors
                                             and Debtors in Possession




                                               10
WEIL:\97458653\7\78263.0003
          Case 20-34944 Document 2 Filed in TXSB on 10/08/20 Page 11 of 18




                                      Certificate of Service

I hereby certify that on October 8, 2020, a true and correct copy of the foregoing document was
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas, and will be served as set forth in the Affidavit of Service to be filed
by the Debtors’ proposed claims, noticing, and solicitation agent.



                                                         /s/ Alfredo R. Pérez
                                                        Alfredo R. Pérez




WEIL:\97458653\7\78263.0003
          Case 20-34944 Document 2 Filed in TXSB on 10/08/20 Page 12 of 18




                                     Exhibit A

                                   Proposed Order




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           Case 20-34944 Document 2 Filed in TXSB on 10/08/20 Page 13 of 18




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                           §
  In re:                                   §    Chapter 11
                                           §
  UTEX INDUSTRIES, INC.,                   §    Case No. 20-34932 (DRJ)
                                           §
                              Debtor.      §
                                           §    (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                   §
                                           §
                                           §
  In re:                                   §    Chapter 11
                                           §
  UTEX HOLDING, INC.,                      §    Case No. 20-34944 (DRJ)
                                           §
                              Debtor.      §
                                           §    (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                   §
                                           §
                                           §
  In re:                                   §    Chapter 11
                                           §
  APPLIED RUBBER TECHNOLOGY,               §    Case No. 20-34934 (DRJ)
  INC.,                                    §
                              Debtor.      §
                                           §    (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                   §
                                           §
                                           §
  In re:                                   §    Chapter 11
                                           §
  CAM SPECIALTY INTERMEDIATE               §    Case No. 20-34937 (DRJ)
  INC.,
  HOLDINGS, INC.,                          §
                              Debtor.      §
                                           §    (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                   §
                                           §
                                           §




WEIL:\97458653\7\78263.0003
           Case 20-34944 Document 2 Filed in TXSB on 10/08/20 Page 14 of 18




  In re:                                 §       Chapter 11
                                         §
  DURAQUEST, INC.,                       §       Case No. 20-34939 (DRJ)
                                         §
                              Debtor.    §
                                         §       (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                 §
                                         §
                                         §
  In re:                                 §       Chapter 11
                                         §
  ENERGY PRODUCTS LLC,                   §       Case No. 20-34940 (DRJ)
                                         §
                              Debtor.    §
                                         §       (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                 §
                                         §
                                         §
  In re:                                 §       Chapter 11
                                         §
  AREFCO SEALS, INC.,                    §       Case No. 20-34936 (DRJ)
                                         §
                              Debtor.    §
                                         §       (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                 §
                                         §
                                         §
  In re:                                 §       Chapter 11
                                         §
  CAM SPECIALTY PRODUCTS, INC.,          §       Case No. 20-34938 (DRJ)
                                         §
                              Debtor.    §
                                         §       (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                 §
                                         §
                                         §




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WEIL:\97458653\7\78263.0003
             Case 20-34944 Document 2 Filed in TXSB on 10/08/20 Page 15 of 18




    In re:                                             §        Chapter 11
                                                       §
    WORK MANUFACTURING, L.L.C.,                        §        Case No. 20-34945 (DRJ)
                                                       §
                              Debtor.                  §
                                                       §        (Emergency Hearing Requested)
    Tax I.D. No. XX-XXXXXXX                            §
                                                       §
                                                       §
    In re:                                             §        Chapter 11
                                                       §
    RSH UTEX HOLDINGS, LLC                             §        Case No. 20-34942 (DRJ)
                                                       §
                              Debtor.                  §
                                                       §        (Emergency Hearing Requested)
    Tax I.D. No. XX-XXXXXXX                            §
                                                       §
                                                       §
    In re:                                             §        Chapter 11
                                                       §
    INDUSTRIAL SEALING SOLUTIONS                       §        Case No. 20-34941 (DRJ)
    HOLDINGS INC.                                      §
                              Debtor.                  §
                                                       §        (Emergency Hearing Requested)
    Tax I.D. No. XX-XXXXXXX                            §
                                                       §
                                                       §
    In re:                                             §        Chapter 11
                                                       §
    UI SEALING TECHNOLOGIES                            §        Case No. 20-34943 (DRJ)
    INTERMEDIATE HOLDINGS INC.                         §
                              Debtor.                  §
                                                       §        (Emergency Hearing Requested)
    Tax I.D. No. XX-XXXXXXX                            §
                                                       §
                                                       §

           ORDER PURSUANT TO FED. R. BANKR. P. 1015(b) AND LOCAL
      RULE 1015-1 DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES

                    Upon the motion, dated October 8, 2020 (the “Motion”)1 of UTEX Industries, Inc.

and its affiliated debtors in the above-captioned chapter 11 cases, as debtors and debtors in


1
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
      Motion.



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WEIL:\97458653\7\78263.0003
          Case 20-34944 Document 2 Filed in TXSB on 10/08/20 Page 16 of 18




possession (collectively, the “Debtors”), for entry of an order pursuant to Bankruptcy Rule

1015(b) and Local Rule 1015-1 directing joint administration of their chapter 11 cases, all as more

fully set forth in the Motion; and upon consideration of the Sanchez Declaration; and this Court

having jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C.

§§ 157 and 1334; and consideration of the Motion and the requested relief being a core proceeding

pursuant to 28 U.S.C. § 157(b); and it appearing that venue is proper before this Court pursuant to

28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been provided; and

such notice having been adequate and appropriate under the circumstances, and it appearing that

no other or further notice need be provided; and this Court having reviewed the Motion; and this

Court having held a hearing to consider the relief requested in the Motion; and all objections, if

any, to the Motion have been withdrawn, resolved, or overruled; and this Court having determined

that the legal and factual bases set forth in the Motion establish just cause for the relief granted

herein; and it appearing that the relief requested in the Motion is in the best interests of the Debtors

and their respective estates and creditors; and upon all of the proceedings had before this Court

and after due deliberation and sufficient cause appearing therefor,

                    IT IS HEREBY ORDERED THAT

                    1.        The Motion is granted to the extent set forth herein.

                    2.        The above-captioned chapter 11 cases are consolidated for procedural

purposes only and shall be jointly administered by the Court under Case No. 20-34932 (DRJ).

Additionally, the following checked items are ordered:

                   One disclosure statement and plan of reorganization may be filed for all
                cases by any plan proponent.

                   Parties may request joint hearings on matters pending in any of the jointly
                administered cases.




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WEIL:\97458653\7\78263.0003
          Case 20-34944 Document 2 Filed in TXSB on 10/08/20 Page 17 of 18




                    Other: See below.

                    3.        Nothing contained in this Order shall be deemed or construed as directing

or otherwise affecting the substantive consolidation of any of the above-captioned cases, the

Debtors, or the Debtors’ estates. The caption of the jointly administered cases should read as

follows:

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                       §
In re:                                                 §        Chapter 11
                                                       §
UTEX INDUSTRIES, INC., et al.,                         §        Case No. 20-34932 (DRJ)
                                                       §
                    Debtors.1                          §        (Jointly Administered)
                                                       §
1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, as applicable, are: UTEX Industries, Inc. (9867), RSH Utex Holdings, LLC (4048), Industrial Sealing
     Solutions Holdings Inc. (0104), UI Sealing Technologies Intermediate Holdings, Inc. (9553), UTEX Holding,
     Inc. (8260), Applied Rubber Technology, Inc. (1790), CAM Specialty Intermediate Holdings, Inc. (9099), CAM
     Specialty Products, Inc. (8342), Duraquest, Inc. (7017), Work Manufacturing, L.L.C. (5341), Energy Products
     LLC (8160), and Arefco Seals, Inc. (5258). The Debtors’ mailing address is 10810 Katy Freeway, Suite 100,
     Houston, TX 77043.

                    4.        A docket entry shall be made in each of the above-captioned cases (except

the chapter 11 case of UTEX Industries, Inc.) substantially as follows:

                    An order has been entered in this case directing the procedural
                    consolidation and joint administration of the chapter 11 cases of
                    UTEX Industries, Inc., et al. The docket in Case No. 20-34932
                    (DRJ) should be consulted for all matters affecting this case.

                    5.        The Debtors shall maintain, and the Clerk of the United States Bankruptcy

Court for the Southern District of Texas shall keep, one consolidated docket, one file, and one

consolidated service list for these chapter 11 cases.

                    6.        The Debtors are authorized to take all actions necessary or appropriate to

carry out the relief granted in this Order.


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WEIL:\97458653\7\78263.0003
          Case 20-34944 Document 2 Filed in TXSB on 10/08/20 Page 18 of 18




                    7.        This Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, or enforcement of this Order.


Dated:                                , 2020
          Houston, Texas

                                                     UNITED STATES BANKRUPTCY JUDGE




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